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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

   POWER INTEGRATIONS, INC.,

                    Plaintiff,



         V.

                                                 C.A. No. 12-540-LPS
   FAIRCHILD SEMICONDUCTOR
   CORPORATION and FAIRCHILD
   (TAIWAN) CORPORATION,

                    Defendants.




                                  VERDICT FORM
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  We, the jury, unanimously find as follows :


  I.     INDUCED INFRINGEMENT

         1.      Has Power Integrations proven by a preponderance of the evidence that Fairchild
                 induced others to infringe the '359 ~ t ?

                                       YES - - -V
                                       (verdict in favor of Power Integrations)



                                       NO - - -
                                       (verdict in favor of Fairchild)



  II.    DAMAGES

         2.      What amount in reasonable royalty damages did Power Integrations prove by a
                 preponderance of the evidence that it is entitled to for Fairchild's infringement?




         You have now reached the end of the verdict form and you should review it to ensure it
         accurately reflects your unanimous determinations. You must each sign the verdict form in
         the spaces below and notify the Jury Officer after you have reached a verdict.


         Date:




                                                    :::
